
709 S.E.2d 923 (2011)
YAODONG JI
v.
Johnny S. GASKINS.
No. 156P11.
Supreme Court of North Carolina.
June 15, 2011.
Yaodong Ji, for Ji, Yaodong.
Walter E. Brock, Jr., Raleigh, for Gaskins, Johnny S.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 19th of April 2011 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendant, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 15th of June 2011."
Upon consideration of the petition filed on the 19th of April 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of June 2011."
